| Case 1:16-cv-08442-CM Document1 Filed 10/28/16 Page 1 of 4

©
udipe States bisdetat Court RECEIVED
Southern Avétict oF Kew Grek SONY PRO SE OF FICE
Us a - - ne 2016 0CT 28 AMI:
obit Heinle, fro SE y wee

Waste Fs

|
Yee 16CV g442

 

airy of wliw eK,
(Caan. C2

ile Pb,“ Gold dase SQuids

bets. girnebforel F 3420 y

| dete Brteci7 #17306 >

Rebeca. ~

 

 

ode 2 becembel— (Role
|e os ssh prone tat dois of
whet Megaere™. AiSfirtent/ Mike cel PCO pein
Mitel P (8 MEMEPEAMECE So. D drt-whe
aff — R32 $e stdéyel obtriasecl 4 strfereatt Mor
. he wis 2icarect Tteal ont p&dclecg ch ES HL RWW dounlt',

tender BD coske +o the As siZetaect déeitet wtterné hAnel ling THE unirelted
at ge y std defexictalh Ae RIKE'S TS I ol 5 d a:
Bi) plthaggh he Ketev® that defeadbolt whe represested by dunlsel 2 HAC
drys inc stmellnd mpde ne fF 4 to cont . fhe. prt teraley becaus
~ Whe was 2adbrmed thie dxdt hl gli guilty Aid wit SSIS
el altlosah sitCrol deddbly ested tat he heltev/eot that —
“Viaek tacky plea qutlhy anid wits Sethaseeel ta The wre lh og

c- fag LLIN foy 5 03 Se Zhtelle Ved.
MELIELCE >, Mf VphltVE®S Fe LSLOVE or | o |
F 7 “hey Bode 2 C ist bept io) 5 mackaialeys CPLR Cpt Prekh by
[Rec rebindee of Sigh deat PaNes WR OPIX NTE te giztepd]
ube extend of’ herent out Gal 709 2008 ig op tr (Neo)

 
by

Ce

Case 1:16-cv-08442-CM Document1 Filed 10/28/16 Page 2 of 4

Sift, (Cy)
Payot on Phe tSaé PLAT YS

76 rete, the Gate of Me TSSAE. Bt HES, OB fA YP frag
sith lexthel CIE El TRUK Ckctlinlé (SSUE OF SUT PAP, (5 fo
defeiclpl ls» it otf Paid Yel ee OF hv? Uh, teickel7ble. Vight

A duns pyilesfhe. batX lle filo! .
Al though St ed fekaiy destitied Td? he bel eved tote bP oiobptf-

hack a realy plsteled gui/ty utd ret settieeed tas Hh pitehifed cbse
MATE he wis utente Sa ars
a "  difedpee Mas (Ye zstsiped bf dat BO Se.
drag Gi 5 tnd sitele xa ld 7 fo dail hE florle/ ESSE

hens tbr tere, de follte” plaieded guilty poll ths, GLIA GEE |

(9/26 /rotd ~ that SEES). 5 « anaratpatelbmatie
Thits HE pbooledp 7, Jap rie bys omer ae wnlP0sTE —
ne e fule Apple (PF Me # | 2 Morle/,
ee, Neguemtel thal pli CE of wll Pre wire! by a v
qirFst WALEAS covnl PEAVIN, she ported
That prior to Excgnaiay pleat GE witth The mak ferroghitdext onl october 2S, R008)
he hitcl sot onlly ver dons opp tastZES to loctte Any bat Had he wt
Ro nebrated that plz 177F writs Subsgeee all 1° besptilced fit AEE!
danthy Hesp1tT for Mkeptase te donut t hoXGe x
’ es |
Tht he wars thenenler zebarmedd tht plhiatt P Nich beet frecteel Br A
drag oP FeIE Pri wot bene dette onl RAGS FSURIA 5 fale
Theat masterd oF dal ire plans damisel fo AiT7ng « het prs stale
dung The Zul TELFO Feel, AE MAE alo <b Lo cryphy Wt oe
dacke G2 MES OF he 7 RI Cle ASE SORA at pleco UAAS

| Rel ble roph A Ea CH (ULE.

Therekre PS ThE turf costed! th rk OS lofi &

4 HUF 3 hive, LILY TAE
les Fe SCS PUP tel HIMES lly AXE CY
‘aries bA A tbeeey Sly OE ped? tte

> he er Te JL tke pole
| PAPA < atcleed, fapresedieel bY ae = th we, 7A ito!

wet defesiive Hielirel bere 0 Se iatttiedt nk ped

 

Set Obert fo agree APO fldel?
h

Qo

———

Case 1:16-cv-08442-CM Document1 Filed 10/28/16 Page 3 of 4

- CO,
thik the deketoves weit be tte WH Te hetaclctp’ Fy ft
this Leese! 6 YlS of litegt (iow walt LEXAE BP Mh
mAde ats or fnAt Pete ease oF defeudhinl PCS? FID ESHAOITS ie
thot there 7S slo $eeluiN€ eS off MATH fet ft to ench Elena if
oP KIS CLAIM © Skee TICK loVEA Y SHretenls!s 312 Fe 3g (260%) (“esr ilye
Fachse| record Suppor tins de ctstat £- pli $25 ‘ ¢ ( ae i

AYPLPOPOTE betes “
Hollies ¢ TRE Sees Geil, Mpplipre bd” YOSCON 5 SEIL, we y Aekel ft >
state Faclec! fb telegutrely pled pM puter defetse of
rE ME =| piel
tyler € Maglg NCE 5 sate, are

cel PP sth Nedepattely plagl Conpttpf ive Neg GFPe
(i deketd of Ay gtely [OS CLE. Pome —
chifed! fo tsi toby spelE Pl Mig OL OTR ON ola
we vali? deta? tt pes Hoel WY wets
as sized te lapantely plRd Hr Oger cuts
Cuptittire leg lt AEE ANTE (pid OP EAS fo Eore gs
Crk

é Lyhccel w © yubpettel fo
urTe € het eqeoll Stust frase! pohen Ae w/is ube ec
Eee free . by ve pAZA 0c CEL 23,9808 7 JAE

| a fil 6 whe
Usaice of rts. thas wish, tgeted kkclt( Wk anh
bet. Baweky observe the tithe se Ped’ fe BAG IIE EY

ARMAS, Gales Sitfe oP nw TA FOR NWA % 7 (3 Sept 20%

Mode of ProdsedlnlEs Mor

Unley the. mere of pro caatixey, Muley cPiial VA TIESS 70S Henle tatty g

procedure, usu oddarrAce & tpt, wll [eSulf- fel EV SSAC ; .

of prESePVAHEN, @ The cndept of Srecturmt ” of DQ cclfpeelHl “ETH'S CS

perhaps! ris theses feclemnl tiPlog tle S&E: MF? Zonlt Y FM MOP E (Hl SOF
f

| | ~ > ESOL)
° ee ction AE Hie. Abedin 3) hpye fitted to sth ef

¢ 2 J Ab& WES ujerl cot (ESLELC A
ALECES'SHAFY Bef render rere py MM, Jelly PUL
of fhe Ya fet, aredeelins se ELLE Se Ne 204, se greens

 

well PUL TH THE. bee beh & GZ
tle the patty of Pigty 9 The Cagetege 7 the del dhe VE
Case 1:16-cv-08442-CM Document1 Filed 10/28/16 Page 4 of 4

ATTICA CORRECTIONAL FACILITY eiiee
BOX 149 ,

ATTICA, NEW YORK 14011-0149

NAME: fc hE LIDELE DIN: /37-W72- CORRECTIONAL FACILITY eek

ap es Pos,

 
 
   

 

. 4 i a $ 00 465

: y 0004281607 OCCT 24 2016

 

   

 

: MAILED FROM ZIPCODE 14011
Z L-AT~ ¥2.
ot
ust
gf 5,4CN\r2
a a) Cc a v fi Lig
oe N \ foc 2 a
ee oo | D untteck dépfes’ doult thus,
% = ° Sov pene SHEE Ron A5c
/ eA MAC New UKM (ovo
ee we A Hyped Wastffpeteeg hf yu
KH LOOP RA BS md HANEY AT Ag ead palo bpd

Jaded pajoAoey UO pay @

 

 

ALP US SSI SNE RSSSAY

 

 

“CLIA-$-S N49 FT LNY LS DP GS IN
Wvd90ud SONSGNOdSSHHOO HAGNASSO

NOISIAHSdNS ALINNWINOD GNV SNOILOSAHHOO AO LNAWLevd"
ALVLS WHOA MAN

sem -
